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10
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12
                         UNITED STATES DISTRICT COURT
13
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                WESTERN DIVISION
15
16   IN THE MATTER OF THE SEIZURE    )    CR MISC. NO. 21-00133
     OF $125,000.00 IN U.S. CURRENCY )
17                                   )    STIPULATION EXTENDING UNITED
                                     )    STATES OF AMERICA’S TIME TO
18                                   )    FILE COMPLAINT FOR FORFEITURE;
                                     )    [PROPOSED] ORDER THEREON LODGED
19                                   )    UNDER SEPARATE COVER
20
          It is hereby stipulated by and between the United States of
21
     America (“United States” or “the government”) and claimant
22
     Hovhannes Tumanyan (“claimant”) by and through their respective
23
     attorneys, as follows:
24
          1.   Pursuant to the claim that the United States alleges
25
     were received by the Federal Bureau of Investigation (the “FBI”)
26
     on March 3, 2021, claimant filed a claim in the FBI
27
     administrative forfeiture proceedings to $125,000.00 in U.S.
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 1   Currency (United States Asset Identification Number 21-FBI-
 2   002820).   The $125,000.00 in U.S. Currency is hereinafter
 3   referred to as the “property.”
 4        2.    It is the United States’ position that the FBI sent the
 5   written notice of intent to forfeit required by 18 U.S.C.
 6   § 983(a)(1)(A) to all known interested parties, the time has
 7   expired for any person to file a claim to the property under 18
 8   U.S.C. § 983(a)(2)(A)-(E), and no person other than claimant has
 9   filed a claim to the property as required by law in the
10   administrative forfeiture proceedings.
11        3.    Under 18 U.S.C. § 983(a)(3)(A), the United States is
12   required to file a complaint for forfeiture against the property
13   alleging that the property is subject to forfeiture within 90
14   days after a claim has been filed in the administrative
15   forfeiture proceedings, which in this case would be June 1, 2021,
16   unless the court extends the deadline for good cause shown or by
17   agreement of the parties.
18        4.    As provided in 18 U.S.C. § 983(a)(3)(A), the parties
19   wish by agreement to extend to August 2, 2021 the time in which
20   the United States is required to file a complaint for forfeiture
21   against the property alleging that the property is subject to
22   forfeiture, so that the government can investigate this matter
23   and determine whether this matter can be settled without the
24   government having to initiate a civil judicial forfeiture action.
25        5.    Claimant knowingly, intelligently, and voluntarily
26   gives up any right claimant may have under 18 U.S.C. §
27   983(a)(3)(A)-(C) to require the United States to file a complaint
28   for forfeiture against the property alleging that the property is

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1                           PROOF OF SERVICE BY MAILING

2          I am over the age of 18 and not a party to the within action.         I

3    am employed by the Office of the United States Attorney, Central

4    District of California.    My business address is 312 North Spring

5    Street, 14th Floor, Los Angeles, California 90012.

6          On May 27, 2021, I served a copy of: STIPULATION EXTENDING

7    UNITED STATES OF AMERICA’S TIME TO FILE COMPLAINT FOR FORFEITURE on

8    each person or entity named below by enclosing a copy in an envelope

9    addressed as shown below and placing the envelope for collection and

10   mailing on the date and at the place shown below following our

11   ordinary office practices.

12   TO:

13   George Gary Besnilian, Esq.
     Nazaretian & Besnilian
14   200 W Glenoaks Blvd., Ste 200
     Glendale, CA 91202-3614
15

16    X    I am readily familiar with the practice of this office for

17   collection and processing correspondence for mailing.         On the same

18   day that correspondence is placed for collection and mailing, it is

19   deposited in the ordinary course of business with the United States

20   Postal Service in a sealed envelope with postage fully prepaid.

21         I declare under penalty of perjury under the laws of the United

22   States of America that I am employed in the office of a member of the

23   bar of this Court, at whose direction the service was made, and that

24   the foregoing is true and correct.

25         Executed on May 27, 2021 at Los Angeles, California.

26                                            /s/ Deena Bowman
                                              DEENA BOWMAN
27                                            Paralegal, FSA

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